Case 2:23-mj-06134-DUTY Document2 Filed 12/01/23. Pagelofi Page ID#:2

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UNITED STATES DISTRICT COURT, isIE} cuUR
CENTRAL DISTRICT OF CALIFORBIN? R ral HIST

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CASE NUMBER: ©" ee
UNITED STATES OF AMERICA
yy, PLAINTIFF | 4 :23-mj-00314
Siaka Massaquoi REPORT COMMENCING CRIMINAL
ACTION
USMS# DEFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1. Date and time of arrest: 11/30/2023 [JAM [PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or

any other preliminary proceeding: [] Yes No
3. Defendant is in U.S. Marshals Service lock-up (in this court building): (A Yes C1 No
4. Charges under which defendant has been booked:

18 U.S.C. § 1752(a)(1), 18 U.S.C. § 1752(a)(2), 40 U.S.C. § 5104(e)(2)(D), 40 U.S.C. § 5104(e)(2)(G).

5. Offense chargedisa: [] Felony [("] Minor Offense (] Petty Offense M Other Misdemeanor

6. Interpreter Required: No [] Yes Language:

7. Year of Birth: 1980

8. Defendant has retained counsel: (_] No
[] Yes Name: Phone Number:

9. Name of Pretrial Services Officer notified:

10. Remarks (if any):

11. Name: Briahna Winter (please print)

12. Office Phone Number: 703-438-5171 13. Agency: FBI

14. Signature Fo nr4 p= 15. Date: 11/30/2023

CR-64 (09/20) REPORT COMMENCING CRIMINAL ACTION
